Case 1:17-cr-20865-RAR Document 3 Entered on FLSD Docket 12/06/2017 Page 1 of 6




                          UNITED STATES DISTRICT COURT
                          SO U TH ER N DISTRIC T O F FLO R IDA

                           CASENO.181U.S.
                                       VC.
                                         'j-1956(h)                     5zklaklâsyaaq
                                                                                  :OORE
                                                                                     .s yuso
                                                                                 &5              a
                                      18U.S.C.j1956(a)(3)(B)                        1ON TON
                                      18U.S.C.j982(a)(1)

 UNITED STATES OF AM ERICA

 VS.

 N AD ER M O H AM A D FAR H AT,

               D efendant.
                                                   /

                                       IND ICTM EN T

       The Grand Jury chargesthat:

                                         C O UN T I

       Beginning in and azotmd M arch 2014,and continuing to on or aboutthe date ofthe retunz

 ofthislndictment,the exactdatesbeing unknown to the Grand Jury,in M inmi-Dade County,in

 the Southern DiskictofFlorida,and çlsewhere,thedefendant,

                              N A DER M O H AM A D FA RH AT,

 didknowingly andwillfully combine,conspire,and agreewith otherpersonsknownandlmknown

 to the Grand Jury to conunitoffenses againstthe United States,in violation ofTitle 18,United

 StatesCode,Section 1956,thatis,tolcnowingly conductafinancialtransaction affecting interstate

 and foreign com merce involving property,that is,ftmds and monetary instrtlments,including

 United States currency,represented by an individual acting at the direction of, and with the

 approvalotl1aw enforcementofficersto beproceedsofaspecified llnlawftzlactivity,with the
Case 1:17-cr-20865-RAR Document 3 Entered on FLSD Docket 12/06/2017 Page 2 of 6



 intent to conceal and disguise the nature, location, source, ownership and control of property

 believed to be the proceeds of said specitied unlaw fulactivity,in violation of Title 18, United

 StatesCode,Sedion 1956(a)(3)(B).
        Itis further alleged that the specified unlaw fuladivity w as represented to be im porting,

 distributing,selling and otherwise dealing in a controlled substance,punishable underthe law sof

 the U nited States.

        A1linviolationofTitle18,UnitedStatesCode,Section 1956(h).
                                          CO UNTS 2-7
        On or about the dates set forth below as to each count,in M iam i-D ade C ounty,in the

Southem D istrid ofFlorida,and elsew here,the defendant,

                               N A DE R M O H AM A D FA RH A T,

did know ingly conducta tinancialtransaction affecting interstate and foreign com m erce involving

property,that is,funds and m onetary instrum ents,including U nited States currency,represented

by an individualacting atthe direction of,and w ith the approvalof,1aw enforcem entofficersto

be proeeeds of a specified unlaw fuladivity,w ith the intent to conceal and disguise the nature,

location, source, ow nership and controlof property believed to be the proceeds of specitied

unlawfulactivity'
                .

  C ount     A pproxim ate D ate of       A pproxim ate           FinancialTransaction
             FinancialTransaction            A m ount

    2          November18,2014               $221,625           W iretransferreceived ata
                                                              Citibartk accountin M iam i,FL
    3          September14,2015               $90,000           W iretransferreceived ata
                                                              Citibank accountin M iam i,FL
    4          September15,2015             $49,997.89          W iretransferreceived ata
                                                              Citibank accountin M iam i,FL
Case 1:17-cr-20865-RAR Document 3 Entered on FLSD Docket 12/06/2017 Page 3 of 6



    5          Septemberl8,2015               $65,096           W iretransferreceivedata
                                                              Citibank accountin M iam i,FL
    6         Septem ber20,2015               $41,210           W iretransferreceived ata
                                                              Citibank accountin M iam i,FL
    7          Decem ber 14,2015             $125,000            Delivery ofcash in U.S.
                                                                  currency by contidential
                                                              infonnantto co-conspirator,on
                                                                   behalfofthe defendant

        ltis further alleged thatthe specified unlaw fulactivity w as represented to be im porting,

distributing,selling and otherwise dealing in a controlled substance,punishable underthe law s of

the United States.

        lnviolationofTitle18,United StatesCode,Sectionsl956(a)(3)(B)and 2.

                               FO R FEITU RE A LLEG ATIO N S

               The allegations of this lndictm ent are re-alleged, and by this reference fully

incorporated herein for alleging crim inal forfeiture to the United States of A m erica of certain

property in w hich the defendant,NA DE R M O H A M A D FA R H A T,has an interest.

               U pon conviction ofa violation of,ora conspiracy to violate,Title l8,U nited States

Code,Sedion 1956,as alleged in this Indid m ent, the defendantshallforfeitto the U nited States

ofAmerica,pursuantto Title 18,United StatesCode,Section 982(a)(1),any property,realor
personal,involved in such offense,orany property traceable to such property.

        Al1pursuanttoTitle18,UnitedStatesCode,Section982(a)(1),andtheproceduresoutlined
Case 1:17-cr-20865-RAR Document 3 Entered on FLSD Docket 12/06/2017 Page 4 of 6



 atTitle 21,United StatesCode,Section 853.

                                         A TRU E BILL


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BEN JAM W G .G REEN BER G
A CTW G U N ITED STATES A TTO RN EY

             N

A IM EE C.JIM EN EZ
A SSISTAN T UN IT   STATES A TTO N EY
     Case 1:17-cr-20865-RAR Document 3 Entered
                            UNITED STATES      onCT
                                          DISTRI  FLSD
                                                    COUDocket
                                                       RT     12/06/2017 Page 5 of 6
                            SOUTHERN DISTRICT OF FLO RIDA
UM TED STATES OF AM ERICA                            CASE NO .
VS.
                                                         CERTIFICATE OF TRIAL A TTO IG EY *
NADER M O HAM AD FAR HAT
        Defendant.
                                        /      Supersediug CaseInform ation:
CourtDivision:(SelectOne)                      New Defendantts)
                                               NumberofN ew Defendants                    -
 X      M iami            Key W est            Totalnumberofcounts
        FTL               W PB         FTP
        ldo hereby certify that:
                 lhave carefully considered the allegationsofthe indictm ept,the numberofdefendants,the number
                 ofprobable witnessesand the legalcomplexitiesofthe lndlctment/lnformation attached hereto.
        2.       lam aF are thatthe information supplied on thisstatem eqtwillbe relied upon by the Judgesofthis
                 Courtln setting theircalendarsand scheduling crim inaltnalsunderthem andate ofthe Speedy Trial
                 A ct,Tltle28 U .S.C.Section 3161.
                 lnterpreter:     (YesqrNo)     Yes
                 Listlanguage and/ordlalect         ra 1csSpanish
        4.       Thiscasewilltake      3-5     daysforthe partiesto try.
                 Pleasecheck appropriatecategory and typeofoffense listed below :
                 (Checkonlyone)                                 (Checkonlyone)
        1        0 to 5 days                     X                        Petty
        11       6 to 10 days                                             M inor
        ll1      11to 20 days                                             M isdem .
        IV       21to 60 days                                             Felony
        V        61 daysand over
        6.       HasthiscasebeenpreviouslyfiledinthisDistrictCourt? (YesorNo)              No
        lfyes:
        Judge:                                          Case No.
        (Attach copy ofdispositiveorder)
        Hasacomplaintbeenfiledinthismatter?             (YesorNo)             No
        lfyej:
       M aglstrate CaseNo.                      :
       Defendantts)infederalcustodyasof
       Defendantts)instatecustody asof
        Rule20 from the                                   lstrlcto
       lsthisapotentialdeath penaltycase?(YesorNo)                   No

                 Doesthiscase originate from a matterpending in theN o/hern Region ofthe U .S.Attorney'sOffice
                 priorto October 14,2003?                      Yes     X     No

        8.       Dpesthiscase originate from a m atterpending in the CentralRegion ofthe U.S.Attorney's Oftice
                 prlorto September1,2007?                           es    -   X      o
                                                        AIM JIM EN
                                                        ASSISTANT UNIT             STATES ATTOR   Y
                                                        CourtNo.A55007
*penaltySheetts)attached
                                                                                                  REV 4/8/08
Case 1:17-cr-20865-RAR Document 3 Entered on FLSD Docket 12/06/2017 Page 6 of 6



                         UN ITED STA TES D ISTRIC T C O U RT
                         SO UTH ERN D ISTR ICT O F FLO RID A

                                    PEN A LTY SH EET

 D efendant'sN am e:NA D ER M O H AM A D FA R H A T

 C ase N o:

 Count

   Conspiracy to Com m itM onev Launderinc

   Title 18.United StatesCode.Section l956(14)

 *M ax.Penalty:            20 Y ears'lm plisonm ent

 Counts #:2-7

   s4oney Laundedng

   Title 18,United StatesCode.Section 1956(a)(3)(B1
*M ax.Penalty:             20 Years'lm prisonm ent




*R efersonly to possible term ofincarceration,does notinclude possible fines,restitution,
specialassessm ents,parole term s,or forfeitures that m ay be applicable.
